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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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CORPUS CHRISTI INDEPENDENT SCHOOL
DISTRICT,                                                                Case No. 1: 19-cv-00301 (ARR)

                                Plaintiff,

                  V.

AMRISC, LLC; CERTAIN UNDERWRITERS AT
LLOYDS, LONDON SUBSCRIBING TO
CERTIFICATE NOS. B123017AMR1042,
B123017AMR1139, and B123017AMR252 FORMING:
PART OF POLICY NO. AMR-37265-03; INDIAN
HARBOR INSURANCE COMPANY; QBE
SPECIALTY INSURANCE COMPANY;
STEADFAST INSURANCE COMPANY; GENERAL
SECURITY INDEMNITY COMPANY OF
ARIZONA; UNITED SPECIALTY INSURANCE
COMPANY; LEXINGTON INSURANCE
COMPANY; PRINCETON EXCESS AND SURPLUS
LINES INSURANCE COMPANY;
INTERNATIONAL INSURANCE COMPANY OF
HANNOVER SE; AXIS SURPLUS INSURANCE
COMPANY; RSUI INDEMNITY COMPANY; FIRST :
SPECIAL TY INSURANCE CORPORATION; ARCH :
SPECIALTY INSURANCE COMPANY;
EVANSTON INSURANCE COMPANY; ROCKHILL
INSURANCE COMPANY; SCOTTSDALE
INSURANCE COMPANY,

                                Defendants.

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     NOTICE OF MOTION TO STAY THIS ACTION AND COMPEL ARBITRATION

           PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

  Support of Defendants' Motion to Stay This Action and Compel Arbitration, dated March 22,

  2019, and the accompanying Declaration of Andrew W. Stern (with exhibits), Defendants

  AmRisc LLC, Certain Underwriters at Lloyd's, London subscribing to Certificate Nos.
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  Bl23017AMR1042, B123017AMR1139, and B123017AMR252 forming part of Policy No.

 AMR-37265-03; Indian Harbor Insurance Co.; QBE Specialty Insurance Co.; Steadfast

 Insurance Company; General Security Indemnity Co. of Arizona; United Specialty Insurance

 Co.; Lexington Insurance Co.; Princeton Excess & Surplus Lines Insurance Co.; International

 Insurance Co. of Hannover, SE; Axis Surplus Insurance Co.; RSUI Indemnity Co.; First

  Specialty Insurance Corporation; Arch Specialty Insurance Company; Evanston Insurance

 Company; Rockhill Insurance Company; and Scottsdale Insurance Company shall move this

  Court, before the Honorable Judge Allyne R. Ross, at the United States Courthouse, 225

  Cadman Plaza East, Brooklyn, New York 11201, with oral argument on a date and time to be

  designated by the Court, for an Order staying this action and compelling Plaintiff to arbitrate

 the dispute pursuant to Plaintiffs Arbitration Demand, and granting such other and further

  relief as this Court deems just and proper in the above-captioned case, pursuant to Sections 3

  and 4 of the Federal Arbitration Act, 9 U.S.C. § 1, et seq.


 Dated: New York, New York
        March 22, 2019
                                                  SIDLEY AUSTIN LLP


                                                  By: Isl Andrew W Stern
                                                     Andrew W. Stern (astern@sidley.com)
                                                     Nicholas P. Crowell (ncrowell@sidley.com)
                                                     Benjamin F. Burry (bburry@sidley.com)
                                                     787 Seventh Avenue
                                                     New York, New York 10019
                                                     Telephone: (212) 839-5300
                                                     Facsimile: (212) 839-5599

                                                  Attorneys for Defendant Lexington Insurance
                                                  Company




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                                      ZELLE LLP


                                      By:               W,,,,,A/ln
                                             Brett A. Wallingford
                                            (bwallingford@zelle.com) (admitted
                                            pro hac vice)
                                            901 Main Street, Suite 4000
                                            Dallas, Texas 75202
                                            Telephone: (214) 742-3000
                                            Facsimile: (214) 760-8994

                                      Attorneys for Defendants AmRisc LLC, Certain
                                       Underwriters at Lloyd's, London subscribing to
                                      Certificate Nos. B123017AMR1042,
                                      Bl23017AMR1139, and Bl23017AMR252
                                      forming part of Policy No. AMR-3 7265-03;
                                       Indian Harbor Insurance Co.; QBE Specialty
                                      Insurance Co.; Steadfast Insurance Company;
                                       General Security Indemnity Co. ofArizona;
                                       United Specialty Insurance Co.; Lexington
                                       Insurance Co.; Princeton Excess & Surplus
                                      Lines Insurance Co. ; International Insurance
                                       Co. of Hannover, SE; Axis Surplus Insurance
                                       Co.; RSUI Indemnity Co.; First Specialty
                                       Insurance Corporation; Arch Specialty
                                       Insurance Company; Evanston Insurance
                                       Company; Rockhill Insurance Company; and
                                       Scottsdale Insurance Company




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